                                                    U.S. Department of Justice


                                                    United States Attorney
                                                    Eastern District of Wisconsin

                                                    517 East Wisconsin Avenue          414 / 297-1700

                                                    Milwaukee, WI 53202




February 26, 2007


The Honorable William E. Callahan
United States District Court

        Re: United States v. Leoporium Ford
            07CR32

Dear Judge Callahan:

The government is in the process of investigating the numerous properties titled to the proposed
surety, Candice Armstrong, the defendant’s girlfriend. So far, it appears that Ms. Armstrong is in
debt up to her ears, and several of the properties actually have negative equity. The properties
proposed as surety are included in the indictment for forfeiture. The government is in the process
of placing a lis pendens on both of these properties.

The government should be able to respond in detail to the defendant’s request to reopen the
detention hearing by the end of the week, and would ask that the court delay scheduling a review
of the detention order until a review of the government’s response.

Very truly yours,

STEPHEN M. BISKUPIC
United States Attorney


ELIZABETH BLACKWOOD
Assistant United States Attorney

EMB/bb

Encl.




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